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            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BERNETTA LASHAY WILLIS,                     )
                                            )
      Petitioner,                           )
                                            )
      v.                                    )    Civil Action No.
                                            )    2:19cv651-MHT
UNITED STATES OF AMERICA,                   )
                                            )
      Respondent.                           )

                            ORDER ON MOTION

      Upon consideration of Petitioner’s Motion for Appointment of Counsel (Doc.

# 3), it is ORDERED that this motion is DENIED at this time.

      DONE this 7th day of October, 2019.

                         /s/ Charles S. Coody
                        CHARLES S. COODY
                        UNITED STATES MAGISTRATE JUDGE
